Case: 4:11-cr-00481-SNLJ     Doc. #: 125 Filed: 04/13/12    Page: 1 of 8 PageID #:
                                       467


                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

UNITED STATES OF AMERICA,            )
                                     )
                   Plaintiff,        )
                                     )
           v.                        )     No. 4:11CR481 SNLJ
                                     )                   (FRB)
ANTHONY McALLISTER,                  )
                                     )
                   Defendant.        )


                                MEMORANDUM,
                     ORDER, REPORT AND RECOMMENDATION
                    OF UNITED STATES MAGISTRATE JUDGE


           All pretrial motions in the above cause were referred to

the undersigned United States Magistrate Judge pursuant to 28

U.S.C. § 636(b).        Defendant Anthony McAllister filed several

pretrial motions. The motions were heard before the undersigned on

January 31, 2012.          Oral argument was heard on the defendant’s

motions.   Neither party presented any testimony or evidence on any

motions.

      1.   D e f e n d a n t ’ s M o t i o n F o r D isclosure Of Favorab le,
           Exculpatory, And Impeaching Information (Docket No. 60)

           The    government     shall    provide   to     the   defendant     any

evidence in its possession which is favorable to the defendant and

which is material to the guilt or innocence of the defendant or to

punishment.     Brady v. Maryland, 373 U.S. 83 (1963).            This includes

evidence which may be used to impeach the testimony of government

witnesses.      United States v. Bagley, 473 U.S. 667 (1985).
Case: 4:11-cr-00481-SNLJ        Doc. #: 125 Filed: 04/13/12      Page: 2 of 8 PageID #:
                                          468


            The    government       shall      provide    to    the   defendant     the

following material or information, if any exists, as to any person

who it calls as a witness at the trial of this case:

            1.     The prior criminal history of convictions of the
                   witness;

            2.     Any consideration offered or given to the witness
                   in   exchange   for   his/her   testimony   and/or
                   cooperation in the investigation of the case;

            3.     Any statement of the witness which relates to the
                   subject matter about which he/she is to testify
                   (Jencks Act Material).

            To    the    extent     that     the   defendant's     motion    requests

disclosure of such evidence, it should be granted.                     In all other

respects, it should be denied.

     2.     Defendant’s Motion For Disclosure Pursuant To Rules
            404(b) And 609 Of The Federal Rules of Evidence
            (Docket No. 61)

            The government shall provide notice to the defendant, at

least ten days prior to trial of the case, if it intends to offer

evidence of other crimes, wrongs or acts, pursuant to Rule 404(b),

Federal Rules of Evidence, and if it does so intend, the general

nature of any such evidence that it intends to offer at trial.

            Rule       609,   Federal      Rules   Of    Evidence,    sets   out    the

circumstances under which the testimony of a witness who has been

convicted   of     a    crime    may    be    impeached    by    evidence    of    such

conviction. However, the rule does not set out that the government

is required to provide evidence of such conviction as to any

witness it intends to call at trial.                     Thus, Rule 609 does not

                                             -2-
Case: 4:11-cr-00481-SNLJ   Doc. #: 125 Filed: 04/13/12   Page: 3 of 8 PageID #:
                                     469


provide for discovery of such evidence, other than as it relates to

the defendant himself, (See Rule 16(a)(1)(D), Federal Rules of

Criminal Procedure), and the defendant's request for disclosure

pursuant to Rule 609 should be denied.           To the extend that such

evidence might be considered favorable to the defendant, it has

already been ordered to be produced for the defendant to inspect

and copy.

            Therefore, the defendant's motion should be granted in

part and denied in part, as set out above.

     3.     Defendant’s Motion For Leave To File Under Seal
            (Defendant’s Motion To Dismiss Indictment)(Docket No. 62)

            Upon consideration of the reasons set out in the motion,

defendant’s Motion For Leave To File Under Seal should be granted.

     4.     Defendant’s Motion To Compel Disclosure Of Evidence
            Relating To Defense Of Entrapment (Docket No. 63)

            In his motion the defendant requests that the government

disclose “all evidence which would have or might have a bearing on

whether any act on the part of this Defendant was a product of

entrapment by government agents or others acting at their request

or direction.” In response, the government notes that any evidence

in its possession which would show that the defendant was entrapped

by government agents and/or actors would be evidence favorable to

the defendant and either has been or will be provided to the

defendant.     Further,    the   court    has   herein   ordered    that    any

favorable evidence in possession of or known to the government be

produced to the defendant.
                                    -3-
Case: 4:11-cr-00481-SNLJ     Doc. #: 125 Filed: 04/13/12   Page: 4 of 8 PageID #:
                                       470


              The defendant’s motion should be denied as moot.

        5.    Motion For Production And Inspection Of Grand Jury
              Transcripts Or Reports (Docket No. 64)

              The disclosure of matters occurring before the grand jury

is permitted only upon a showing of particularized need for such

disclosure.      Pittsburgh Plate Glass Co. v. United States, 360 U.S.

395 (1959).      If a witness testifies at trial, his or her testimony

before the grand jury, if any, constitutes a statement required to

be produced at the time of trial pursuant to the Jencks Act, 18

U.S.C. § 3500, upon appropriate request and insofar as it relates

to the subject matter of the witness' trial testimony.                 However,

production of such statements cannot be compelled prior to trial.

See Dennis v. United States, 384 U.S. 855 (1966).

              The defendant's claim that disclosure is required in

order    to    show   that   the   grand   jury   considered   improperly      or

illegally obtained evidence does not meet the "particularized need"

requirement.      United States v. Warren, 16 F.3d 247, 253 (8th Cir.

1994).       Even if such allegations could be shown to be true, they

would not be sufficient to compel a dismissal of the indictment.

See Costello v. United States, 350 U.S. 359 (1956); United States

v. Calandra, 414 U.S. 338, 345 (1974).

              Therefore, the defendant's motion should be denied.




                                       -4-
Case: 4:11-cr-00481-SNLJ    Doc. #: 125 Filed: 04/13/12     Page: 5 of 8 PageID #:
                                      471


      6.    Defendant’s Motion To Dismiss Indictment (Docket No. 65)

            As   his   first     ground   to   dismiss    the   indictment     the

defendant asserts that Count V of the indictment is a “vague,

ambiguous and otherwise indefinite description of conduct Defendant

McAllister is alleged to have engaged in”. The defendant then goes

on to state as further grounds to dismiss the indictment that

discovery    produced      by    the   government    does   not    support     the

allegations set out in the indictment.

            The indictment is a plain, concise and definite statement

of   the   essential    facts     constituting    the    offense   charged     and

complies in all respects with Rule 7(c), Federal Rules of Criminal

Procedure and is thus valid on its face.            Such an indictment is not

subject to dismissal on the ground that it is not supported by

sufficient evidence.            Costello v. United States, 350 U.S. 359

(1956).

            As his second ground to dismiss the indictment the

defendant asserts that he was entrapped into committing the offense

by government agents and others acting with them.               In its response

to the defendant’s motion the government disputes the defendant’s

claim and denies that it acted in any way to induce the defendant

to commit the offense charged. Rather, the government asserts that

agents of the Federal Bureau of Investigation (F.B.I.) merely

became aware of a planned bank robbery through information provided

to them and stepped in to arrest the participants and prevent the

robbery before it could occur.                At the hearing on the motion
                                        -5-
Case: 4:11-cr-00481-SNLJ     Doc. #: 125 Filed: 04/13/12     Page: 6 of 8 PageID #:
                                       472


neither party chose to present any evidence in support of their

respective positions as set out in their written submissions on the

issue.

           Entrapment is an affirmative defense.              In asserting such

a defense the defendant has the burden of showing that he was

induced to commit the offense through the conduct of government

agents.   United States v. Young, 613 F.3d 735, 746-47 (8th Cir.

2010).    Inducement        exists   when    the   government     implanted     the

criminal design in the defendant’s mind.                Id. at 747 (Internal

quotes and citations omitted). Once the defendant meets his burden

of showing such government inducement the burden shifts to the

government to demonstrate beyond a reasonable doubt that the

defendant was predisposed to commit the crime.               The predisposition

element focuses upon whether the defendant was an unwary innocent

or, instead an unwary criminal who readily availed himself of the

opportunity to perpetrate the crime.                Id. (Internal quotes and

citations omitted).

           “E”ntrapment is a question of fact and generally decided

by a jury.”      Id. at 746; Matthews v. United States, 485 U.S. 58

(1988).   Most courts have avoided deciding entrapment issues on

pretrial motions to dismiss.           United States v . Fadel, 844 F.2d

1425, 1430 (10th Cir. 1988).           “The reasons for such a preference

are   grounded   in   the    fact    that    the   defense   of   entrapment     is

intertwined with the issue of intent and is typically based upon

credibility determinations, an area traditionally reserved for jury
                                       -6-
Case: 4:11-cr-00481-SNLJ     Doc. #: 125 Filed: 04/13/12   Page: 7 of 8 PageID #:
                                       473


resolution.”     Id.       A review of the defendant’s motion and the

government’s response, all that is before the court at this time,

readily shows that the case is replete with factual disputes with

respect to both the “inducement” and “predisposition” aspect of the

entrapment issues, making the issue inappropriate for pretrial

resolution.

           Likewise, because there are numerous factual disputes as

alleged in the defendant’s motion and the government’s response

thereto that it is impossible for the court to conclude at this

time that the government’s conduct in this case was so outrageous

as to merit dismissal of the indictment at this time.              See, United

States v. Russell, 411 U.S. 423, 431-32 (1973); United States v.

Berg, 178 F.3d 976, 979 (8th Cir. 1999).

           Therefore, the defendant’s motion should be denied.

                                  Conclusion

           For all of the foregoing reasons the defendant’s Motion

To Dismiss Indictment should be denied.


           Accordingly,

           IT   IS     HEREBY   ORDERED     that   Defendant’s     Motion     For

Disclosure Of Favorable, Exculpatory, And Impeaching Information

(Docket No. 60) is granted in part and denied in part.

           IT   IS   FURTHER     ORDERED    that   Defendant’s     Motion     For

Disclosure Pursuant to Rules 404(b) and 609 Of The Federal Rules Of

Evidence (Docket No. 61) is granted in part and denied in part.
                                      -7-
Case: 4:11-cr-00481-SNLJ   Doc. #: 125 Filed: 04/13/12   Page: 8 of 8 PageID #:
                                     474


           IT IS FURTHER ORDERED that Defendant’s Motion For Leave

To File Under Seal (Defendant’s Motion To Dismiss Indictment)

(Docket No. 62) is granted.

           IT IS FURTHER ORDERED that Defendant’s Motion To Compel

Disclosure Of Evidence Relating To Defense Of Entrapment (Docket

No. 63) is denied as moot.

           IT   IS   FURTHER   ORDERED    that   Defendant’s     Motion     For

Production And Inspection Of Grand Jury Transcripts Or Reports

(Docket No. 64) is denied.

           IT   IS    HEREBY    RECOMMENDED      that    Defendant    Anthony

McAllister’s Motion To Dismiss Indictment (Docket No. 65) be

denied.


           The parties are advised that they have until April 27,

2012, in which to file written objections to this Report and

Recommendation.      Failure to timely file objections may result in

waiver of the right to appeal questions of fact.           Thompson v. Nix,

897 F.2d 356, 357 (8th Cir. 1990).




                                      UNITED STATES MAGISTRATE JUDGE


Dated this 13th day of April, 2012.




                                    -8-
